                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

BLEU COPAS,                                   )
                                              )
         Plaintiff,                           )      Case No.: 3:17-cv-01447
v.                                            )
                                              )
BILL HASLAM, in his official capacity         )
as GOVERNOR OF THE STATE OF                   )
TENNESSEEE                                    )
                                              )
         Defendant.                           )


                      AMENDED INITIAL CASE MANAGEMENT ORDER

         The Initial Case Management Order entered on July 30, 2018, is hereby amended to reflect

that the Issues Resolved (Paragraph C) are jurisdiction and venue. All other aspects of the July 30,

2018 Order remain intact.


         It is so ORDERED:

         ENTERED this ______         October
                       22nd day of ___________, 2018.



                                                     __________________________________
                                                            ALETA A. TRAUGER




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